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5

6    Attorney for defendant
     SCOTT PETERSON
7

8
                          UNITED STATES DISTRICT COURT
9
                         EASTERN DISTRICT OF CALIFORNIA
10

11
     UNITED STATES OF AMERICA,            No.   2:10-CR-0299 WBS
12
                    Plaintiff,
13
          v.                              AMENDED STIPULATION AND
14                                        [PROPOSED] ORDER AUTHORIZING PTS
     SCOTT PETERSON,                      TO REMOVE ANKLE BRACLET
15
                    Defendant.
16

17        The defendant, Scott Peterson, through his undersigned

18   counsel and the United States, through its undersigned counsel,

19   hereby agree and stipulate that Pretrial Services may remove Mr.

20   Peterson’s ankle bracelet on May 29, 2015 in preparation for his

21   self-surrender on Monday, June 1, 2015.

22        Pursuant to the conditions of his supervised release, Mr.

23   Peterson has been subject to location monitoring.         However, Mr.

24   Peterson is scheduled to self-surrender Monday, June 1, 2015 in

25   Southern California.     In order to do so, he will travel from

26   Northern California to Southern California on Sunday, May 31,

27   2015.     To facilitate this, the parties request Pretrial Services

28   be authorized to remove Mr. Peterson’s ankle bracelet on Friday,
                                         1
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1    May 29, 2015, outside the 24-hour period prior to his self-

2    surrender.

3         I, William E. Bonham, the filing party, have received

4    authorization from AUSA Justin Lee to sign and submit this

5    stipulation and proposed order on his behalf.

6         Accordingly, the defense and the United States stipulate and

7    request that Pretrial Services be authorized to remove Mr.

8    Peterson’s ankle bracelet on Friday, May 29, 2015, outside the

9    24-hour period prior to his self-surrender.

10

11   Dated: May 26, 2015                     BENJAMIN B. WAGNER
                                             United States Attorney
12

13                                           By:/s/ WILLIAM BONHAM for
                                             JUSTIN LEE
14                                           Assistant U.S. Attorney

15

16   Dated: May 26, 2015                     By:/s/ WILLIAM BONHAM for
                                             WILLIAM BONHAM
17                                           Counsel for defendant
                                             SCOTT PETERSON
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      Case 2:10-cr-00299-WBS Document 475 Filed 05/27/15 Page 3 of 3


1                                      ORDER

2          IT IS SO ORDERED. Pretrial Services is authorized to remove

3    Mr. Peterson’s ankle bracelet on Friday, May 29, 2015, outside

4    the 24-hour period prior to his self-surrender.

5    Dated:    May 26, 2015
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